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            IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                             :
UZMA MALIK                     CIVIL ACTION
          Plaintiff,         :
                             :
     v.                      : DOCKET NO.: 3:19-CV-01547
                             :
WYOMING VALLEY MEDICAL       :
CENTER, P.C.                 :
     and                     :
GEISINGER HEALTH SYSTEM      :
     and                     :
ANAND MAHADEVAN              :
     and                     :
MICHAEL GREENBERG            :
          Defendants.        :


                                  ORDER
                        19th
                                     April
        AND NOW, this ________ of _________________, 2021, it is hereby

ORDERED that the Joint Motion to Extend Case Management Deadlines is hereby

GRANTED. The deadlines are revised as follows:

        1.   All fact discovery is to be completed by August 27, 2021;

        2.   Notice of Intent to Pursue Settlement Conference is to be filed by

August 27, 2021;

        3.   All dispositive motions are to be filed no later than September 24,

2021;

        4.   Plaintiff's expert reports are due by September 24, 2021;

        5.   Defendant's expert reports are due by October 29, 2021;
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      6.    Supplemental reports are due by November 12, 2021;

      7.    Attorney Conference and Exchange of Proposed Jury Instructions by

January 10, 2022;

      8.    Motions in Limine are to be filed by January 24, 2022;

      9.    Pretrial Memoranda are to be filed by February 7, 2022;

      10.   Proposed Jury Charge, Voir Dire, and Objections to the Proposed Jury

Charge are to be filed by February 7, 2022;
                                                                  March 7, 2022 at 10:00 a.m.
      11.   Pretrial and Settlement Conference is scheduled for
                                     March 21, 2022 at 9:30 .m.
      12.   Trial is scheduled for                                     .



                                        s/ Martin C. Carslon
                                        __________________________
                                        BY THE COURT
